               Case 1:24-cv-00958-MSN-LRV Document 1-4 Filed 06/04/24 Page 1 of 1 PageID# 53
JS« (Rev 04/20                                                                CIVIL COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law,except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use ofthe Clerk of Court for the
purpose ofinitiating the civil docket sheet, (SEE INSTRUCTIONS ON NEXn'AOH OF THIS FORM.)                                                                             [^^11 PH
I. (a) PLAINTIFFS                                                                                                        DEFENDANTS
                                                                                                                         The Partnerships, Companies, and Unincorporated
          THOUSAND OAKS BARREL CO.. LLC
                                                                                                                         Associations Identified on Schedule A
   (b) County of Residence ofFirst Listed Plaintiff                    Prince William CoUDtN                             County of Residence of First Listed Defendant               ^
                                (EXCEPTIN U.S. PLAINTIFF CASES)                                                                                       (I^W'I.m\FSA4SF^^lM: l|^
                                                                                                                          NOTE:     IN LAND CONDEIWRTldm:ASES,USE THE LOCATION OF
                                                                                                                                    THE TRACT OF LAND INVOLVED.

   (c) Attorneys(Firm Name, Address, and Telephone Number)                                                                Attorneys (1/Known)
          Ken Sheets. Whitestone Law PLLC, 1850 Towers
          Crescent Plaza, #550, Tysons. Virginia 22182, Phone:
      703-489-8937                                                                                          P
II. BASIS OF JURISDICTION rWflceflfl -X" m one Box Only)                                                 III. CITIZENSHIP OF PRINCIPAL PARTIES(Place an "X" in One Boxfor Plaimijf
                                                                                                                      (For Diversity Cases Only)                                         and One Boxfor Defendant)
\ 1 1 U.S. Govemmeni                  03 Federal Question                                                                                        PTF      DEF                                                 PTF      DEF
          Plaintiff                               (U.S. Government Not a Party)                                Citizen of This Slate           01        Q I Incorporated or Principal Place                  □ 4      04
                                                                                                                                                                      of Business In This State


r~l 2   U.S. Government               I |4 Diversity                                                           Citizen of Another State          02      □ 2 Incorporated onr/Principal Place                 □ 5      Ds
          Defendant                                (Indicate Cttisenship of Parties in hem III)                                                                       of Business In Another State

                                                                                                               Citizen or Subject of a             ]3    n 3 Foreign Nation                                   □ 6      Qe
                                                                                                                    Foreign Coun

IV. NATURE OF SUIT (Ptace an -X" in One Box Only)                                                                                                    Click hei^ for: Nature of Suit
           CONTRACT                                                TORTS                                                                                    BANKRUPTCY                          OTHER STATUTES : .

    110 Insurance                        PERSONAL INJURY                    PERSONAL INJURY                         625 Drug Related Seizure             422 Appeal 28 USC 158                375 False Claims Act

_ 120 Marine                             310 Airplane                   I I 365 Personal Injury •                       of Property 21 USC 881           423 Withdrawal                       376 Qui Tam (31 USC
_ 130 Miller Act                         315 Airplane Product                    Product Liability                  690 Other                                28 USC 157                            3729(a))
  140 Negotiable Instrument                  Liability                  □ 367 Health Care/                                                                INTELLECTUAL                        400 State Reapportionment
_ 150 Recovery of Overpayment            320 Assault. Libel &                    Pharmaceutical                                                          PROPERTY RIGHTS                      410 Antitrust

        & Enforcement of Judgment            Slander                             Personal Injury                                                         820 Copyrights                       430 Banks and Banking
Bl 51 Medicare Act
    152 Recovery of Defaulted
                                         330 Federal Employers'
                                             Liability
                                                                                 Product Liability
                                                                        I 1368 Asbestos Peisonal
                                                                                                                                                         830 Patent
                                                                                                                                                                                              450 Commerce
                                                                                                                                                                                              460 Deportation
                                                                                                                                                         835 Patent • Abbreviated
        Student Loans                    340 Marine                               Injuiy Product                                                             New Drug Application             470 Racketeer Influenced and
        (Excludes Veterans)              345 Marine Product                       Liability                                                              840 Trademark
                                                                                                                                                                                                  Corrupt Organizations
r~l 153 Recovery of Overpayment              Liability                    PERSONAL PROPERTY                                   nCTiliJl                                                        480 Consumer Credit
                                                                                                                                                         880 Defend Trade Secrets
        of Veteran's Benefits            350 Motor Vehicle               _ 370 Other Fraud                          710 Fair Labor Standards                 Act of20l6
                                                                                                                                                                                                  (15 USC 1681 or 1692)
 _ 160 Stockholders'Suits                355 Motor Vehicle               _ 371 Truth in Lending                         Aet                                                                   485 Telephone Consumer
 _ 190 Other Contract                        Product Liability           _ 380 Other Personal                       720 Labor^anagement                                                            Protection Act

 _ 195 Contract ft'oduct Liability       360 Other Personal                      Property Damage                        Relations                        861 HlA{l395fr)                      490 Cable/Sat TV
    196 Franchise                            Injury                     [~~1 385 Property Damage                    740 Railway Labor Act                862 Black Lung (923)                  850 Securities/Commodities/
                                         362 Personal Injury -                   Product Liability                  751 Family and Medical               863 DIWC/DIWW (405(g))                    Exchange
                                             Medical Malpractice                                                        Leave Act                        864 SSID Title XVI                    890 Oilier Statutory Actions
                                                                         I !3 H MelOl al !l il all d it 8 lek'M 1   790 Other Labor Litigation           865 RSI (405(g))                      891 Agricultural Acts
    210 Land Condemnation                440 Other Civil Rights             Habeas Corpus:                          791 Employee Retirement                                                    893 Environmental Matters
    220 Foreclosure                      441 Voting                         463 Alien Detainee                          Income Security Act                                                    895 Freedom of Information

    230 Rent Lease & Ejectment           442 Employment                     510 Motions to Vacate                                                        870 Taxes (U.S. Plaintiff                 Act

    240 Torts to Land                    443 Housing/                            Sentence                                                                     or Defendant)                    896 Arbitration

    245 Ton Product Liability                Accommodations                 530 General                                                                  871 IRS—Third Party                   899 Administrative Procedure

    290 All Other Real Property                                             535 Death Penalty                            IMMI                                 26 USC 7609                          Act/Review or Appeal of
                                         445 Amer. w/Disabilities
                                             Employment                     Other:
                                                                            540 Mandamus & Other
                                                                                                                    462 Naturalization Application
                                                                                                                    465 Other Immigration
                                                                                                                                                                                           I 950 Agency  Decision
                                                                                                                                                                                                 Constitutionality of
                                         446 Amer, w/Disabilities
                                             Other                          550 Civil Rights                            Actions                                                                    State Statutes
                                         448 Education                      555 Prison Condition
                                                                            560 Civil Detainee •
                                                                                Conditions of
                                                                                 Confinement

 V. ORIGIN (Place an "X" in One Box Only)
Q 1 Original                       id from
                          Q2 Removed                              3 Remanded from                      Q] 4 Reinstated or 0 5 Transferred from 0 6 Multidistrict
                                                                                                       Q                                                                                            Q 8 Multidistrit
                                                                                                                                                                                                    0   Multidistrict
        P roceeding                       )urt
                                  S tate Court                          Appellate Court                         Reopened                  Another District                  Litigation-                    Litigation -
                                                                                                                                                                                                           Litigation-
                                                                                                                                          (specify)                         Transfer                          Direct File
                                           Cite the U.S. Civil Statute under which you are fi ling (Do not cUejuristlictianalstatutes unless diversity)'.
                                           35 U.S.C. §271 Patent infringement
 VI. CAUSE OF ACTION
                                           Brief description of cause:
                                           Patent infringement of utility patent.
 VII. REQUESTED IN                        [ CHECK IF THIS IS A CLASS ACTION
                                          O                                                                          DEMAND S                                   CHECK YES only if demanded in complaint:
         COMPLAINT:                               UNDER RULE 23, F.R.Cv.P.                                                                                      JURY DEMAND:                    [x] Yes        □ No
 VIII. RELATED CASE(S)
                                                 (See Instructions):
          IF ANY                                                                                                                                         DOCKET NUMBER 1:23-cv-01560

 DATE                                                                       SIGNATURE OF ATTORNEY OF RECORD
 Jun 4, 2024                                                                Isl Kendal M. Sheets
